            Case 1:18-cv-00154-RBW Document 43 Filed 03/31/22 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 Judicial Watch, Inc.,                               No. 18-cv-154 RBW

                                    Plaintiff,       Hon. Reggie B. Walton
                                                     United States District Judge
                       v.

 U.S. Department of Justice,

                                  Defendant.


                                   JOINT STATUS REPORT

       This FOIA case seeks travel records of and communications between former Federal

Bureau of Investigation employees Peter Strzok and Lisa Page. In accordance with the Court’s

minute orders dated June 26 and December 16, 2020, plaintiff Judicial Watch, Inc. and defendant

U.S. Department of Justice report as follows:

       1.      The FBI has finished its initial processing of potentially responsive records. The

only remaining potentially responsive records to be processed are approximately 2,000 pages on

which the FBI is consulting with other agencies or components. The FBI is processing these

consultations as it receives responses from the other agencies and components.

       2.      Between January 1 and January 31, 2022, the FBI processed 66 pages of potentially

responsive records and withheld 66 pages in their entirety.

       3.      Between February 1 and February 28, 2022, the FBI processed 86 pages of

potentially responsive records and produced in whole or in part 67 pages of responsive records to

Judicial Watch.

       4.      Between March 1 and March 31, 2022, the FBI processed 294 pages of potentially

responsive records and produced in whole or in part 227 pages of responsive records to Judicial
              Case 1:18-cv-00154-RBW Document 43 Filed 03/31/22 Page 2 of 2



Watch.

         5.      In accordance with the Court’s minute orders dated June 26 and December 16,

2020, the parties will file another status report advising the Court of the FBI’s progress in

processing the request on or before July 1, 2022.

Dated: March 31, 2022                                   Respectfully submitted,

/s/ Michael Bekesha                                     BRIAN M. BOYNTON
Michael Bekesha                                         Principal Deputy Assistant Attorney General
D.C. Bar No. 995749
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